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   EJ Global, LLC, and Pretty Mess, Inc.
 6

 7

 8                                UNITED STATES BANKRUPTCY COURT

 9               CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

10

11 In re                                                 Case No. 2:20-bk-21022-BR

12 GIRARDI KEESE,                                        Chapter 7

13                  Debtor.                              Adv No. 2:21-ap-01155-BR

14                                                       JOINT STATUS CONFERENCE REPORT
     ELISSA D. MILLER, Chapter 7 Trustee,                OF PARTIES ON:
15
                    Plaintiff,                           (1) THE DISTRICT COURT’S ORDER
16                                                       REVERSING IN PART THE ORDER OF
            v.                                           THE BANKRUPTCY COURT AND
17                                                       REMANDING FOR FURTHER
   ERIKA N. GIRARDI, an individual; EJ                   PROCEEDINGS, ETC. (DOC. 35; FILED
18 GLOBAL, LLC, a limited liability company;             5/1/23) (THE “REMAND ORDER”); AND
   and PRETTY MESS, INC., a corporation,
19                                                       (2) PRE-TRIAL CONFERENCE
               Defendants.
20                                                       Status Conference and Pre-Trial
                                                         Conference
21                                                       Date:    September 19, 2023
                                                         Time:    10:00 a.m.
22                                                       Ctrm:    1668

23                                                       Judge:    Hon. Barry Russell

24          Plaintiff Elissa D. Miller, chapter 7 trustee of debtor Girardi Keese (“GK”) (the “Trustee” or

25 “Plaintiff”) and defendants Erika Girardi (“Ms. Girardi”), EJ Global, LLC (“EJ Global”), and Pretty

26 Mess, Inc. (“PMI,” and together with Ms. Girardi and EJ Global, “Defendants”) (collectively the

27 “Parties”), by and through their attorneys of record, hereby submit this combined Joint Status Report

28 (“JSR”) on: (1) the Status Conference set by this Court on the District Court’s Order Reversing in


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 1 Part the Order of the Bankruptcy Court and Remanding for Further Proceedings, etc. [DC Dkt. No.

 2 35, filed 5/1/2023] (the “Remand Order”); and (2) the Parties’ Pre-Trial Conference, for the Court’s

 3 consideration.

 4            I.    JSR RE REMAND ORDER AND REQUEST OF PARTIES FOR A

 5                  BRIEFING SCHEDULE.

 6          On May 1, 2023, the District Court issued its Remand Order. In the Remand Order, the

 7 District Court made the following determinations:

 8          (1) Ms. Girardi had standing to prosecute the appeal;

 9          (2) The appeal was not equitably moot;

10          (3) The Trustee’s motion (the “Turnover Motion”), which led to the issuance of this

11 Court’s July 11, 2022 Order (the “Turnover Order”) was not barred by the statute of limitations or

12 the statute of repose; and

13          (4) In the Turnover Motion, the Trustee had not met her burden to show that the funds used

14 in 2007 to purchase the earrings at issue (the “Earrings”) were the property of the GK estate due to

15 commingling.

16          Based on the foregoing, the District Court reversed the Turnover Order, in part, and

17 remanded the matter for further proceedings in which the Trustee would bear the burden of proof

18 on the commingling issue. [Remand Order at 13-14].

19          On August 23, 2023, this Court entered an Order granting the Trustee’s Motion for Order:
20 (A) Authorizing the Trustee to Close and Consolidate the Trust and IOLTA Bank Accounts; (B)

21 Confirming the Banks’ Authority as to the Minors Blocked Bank Accounts Pursuant to 11 U.S.C.

22 §721; and (C) Abandoning the Citibank Bank Account Pursuant to 11 U.S.C. §554 (the

23 “Consolidation Order”). [Motion, BK Dkt. No. 1785; Order, BK Dkt. No. 1898]. The Court also

24 overruled Ms. Girardi’s Opposition to the Trustee’s motion. [BK Dkt. No. 1805].

25          Based upon the foregoing, the Parties request that the Court set a briefing schedule to

26 address the following legal issues raised by the Remand Order and the Consolidation Order:

27          1. Whether the Consolidation Order is issue determinative and preclusive of the

28 commingling issue addressed by the Remand Order.

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 1          2. If so, whether a partial judgment should be entered in favor of the Trustee on the

 2 Turnover Motion, including a determination that the Trustee is entitled to keep the proceeds of the

 3 sale of the Earrings.

 4          3. If the Consolidation Order is not issue determinative of the commingling issue that is

 5 the subject of the Remand Order, whether, based upon the Remand Order, Ms. Girardi has

 6 standing to pursue her rights to the proceeds of the sale of the Earrings, notwithstanding the

 7 District Court’s Remand Order to the contrary.

 8          The Parties agree that the foregoing are “threshold” issues that must be decided before the

 9 Parties proceed to address further on remand the commingling issue described in the Remand

10 Order. Among other things, such further proceedings may require additional discovery and the

11 retention of expert witnesses to present the commingling issue to this Court for consideration. The

12 Parties reserve all rights to pursue or object to further discovery on the comingling issue on

13 remand.

14           II.   JSR RE PRE-TRIAL CONFERENCE.

15          The Parties have worked diligently to prepare a Joint Pre-Trial Stipulation and have

16 exchanged drafts of a proposed Pre-Trial Stipulation and Order thereon, as well as an initial

17 witness list and exhibit list. Counsel for the Parties has met and conferred numerous times to

18 discuss the admitted and disputed issues of fact and law in this adversary proceeding on the

19 Parties’ contentions, claims, and defenses. Through this process, the Parties recognized that the
20 issues presented by the Remand Order should be addressed in the first instance, prior to presenting

21 a proposed Joint Pre-Trial Stipulation and Order thereon for the Court’s consideration.

22          III.   CONCLUSION.

23          Based on the foregoing, the Parties request that the Court set a briefing schedule to address

24 by motion the issues presented by the Remand Order and that the Court continue the date of the

25 Final Pre-Trial Conference to a date 30 days after the Court decides the above-described issues

26 presented by the Remand Order.

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 1 DATED: September 5, 2023            JENKINS MULLIGAN & GABRIEL LLP

 2

 3
                                       By:
 4                                           Larry W. Gabriel
                                             Special Litigation Counsel to
 5                                           Plaintiff Elissa D. Miller, Chapter 7 Trustee
 6

 7 DATED: September 5, 2023            GREENBERG GROSS LLP

 8

 9                                     By:
                                             Evan C. Borges
10
                                             Attorneys for Defendants Erika Girardi, EJ Global,
11                                           LLC, and Pretty Mess, Inc.

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 1                              PROOF OF SERVICE OF DOCUMENT

 2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
   business address is:
 3
                                   650 Town Center Drive, Suite 1700
 4                                       Costa Mesa, CA 92626

 5 A true and correct copy of the foregoing document entitled (specify): JOINT STATUS
   CONFERENCE REPORT OF PARTIES ON: (1) THE DISTRICT COURT’S ORDER
 6 REVERSING IN PART THE ORDER OF THE BANKRUPTCY COURT AND REMANDING
   FOR FURTHER PROCEEDINGS, ETC. (DOC. 35; FILED 5/1/23) (THE “REMAND
 7 ORDER”); AND (2) PRE-TRIAL CONFERENCE will be served or was served (a) on the judge
   in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
 8 below:

 9 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
10 court via NEF and hyperlink to the document. On September 5, 2023, I checked the CM/ECF
   docket for this bankruptcy case or adversary proceeding and determined that the following persons
11 are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
   below:
12

13                                                Service information continued on attached page

14 2. SERVED BY UNITED STATES MAIL:
   On __________, I served the following persons and/or entities at the last known addresses in this
15 bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
   envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
16 the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
   hours after the document is filed.
17

18                                                Service information continued on attached page

19 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
20 F.R.Civ.P. 5 and/or controlling LBR, on September 5, 2023, I served the following persons
   and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
21 to such service method), by facsimile transmission and/or email as follows. Listing the judge here
   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
22 completed no later than 24 hours after the document is filed.

23                                                Service information continued on attached page

24 I declare under penalty of perjury under the laws of the United States that the foregoing is true and
   correct.
25
      September 5, 2023       Cheryl Winsten
26    Date                  Printed Name                 Signature
27

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 2                    Elissa D. Miller. Chapter 7 Trustee v. Erika N. Girardi, et al.
                                        Case No. 2:21-ap-01155-BR
 3
     1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING:
 4
     The following is the list of parties who are currently on the list to receive email notice/service for
 5
     this case.
 6
             Ori S Blumenfeld oblumenfeld@laklawyers.com,
 7            nlessard@laklawyers.com;smcfadden@laklawyers.com

 8           Evan C Borges     eborges@ggtriallaw.com, cwinsten@ggtriallaw.com

 9           Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
              lawyers.net,addy@flpllp.com
10
             Larry W Gabriel      lgabrielaw@outlook.com, tinadow17@gmail.com
11
             Daniel A Lev daniel.lev@gmlaw.com,
12            cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

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              Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithl
14            aw.com
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18           Frank X Ruggier      frank@ruggierlaw.com
19           Amir Shakoorian      AShakoorian@GGTrialLaw.com
20           United States Trustee (LA)      ustpregion16.la.ecf@usdoj.gov
21           Timothy J Yoo     tjy@lnbyb.com
22

23 3.         SERVED BY PERSONAL DELIVERY:

24 U.S. Bankruptcy Court:
   U.S. Bankruptcy Court
25 Hon. Barry Russell
   255 E. Temple Street, Courtroom 1668
26 Los Angeles, CA 90012

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                                     JOINT STATUS CONFERENCE REPORT
